Case 12-46295-rfn11 Doc 274 Filed 06/16/15        Entered 06/16/15 11:16:55     Page 1 of 6



Kenneth A. Hill
Quilling, Selander, Lownds,
  Winslett & Moser, P.C.
2001 Bryan Street, Suite 1800
Dallas, Texas 75201
(214) 871-2100 (Telephone)
(214) 871-2111 (Facsimile)
ATTORNEYS FOR THE TRUSTEE

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

IN RE:                                     §
                                           §
LATITUDE SOLUTIONS, INC.,                  §             CASE NO. 12-46295-rfn-11
                                           §
DEBTOR.                                    §

               MOTION TO APPROVE AMENDMENT TO CONTINGENT
              FEE AGREEMENT WITH SPECIAL LITIGATION COUNSEL

                                          NOTICE

     NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY
COURT AT ELDON B. MAHON U.S. COURTHOUSE, 501 W. TENTH STREET, FORT
WORTH, TX 76102-3643 BEFORE THE CLOSE OF BUSINESS ON JULY 10, 2015,
WHICH IS AT LEAST 24 DAYS FROM THE DATE OF SERVICE HEREOF.

     ANY RESPONSE MUST BE IN WRITING AND FILED WITH THE CLERK,
AND A COPY MUST BE SERVED UPON COUNSEL FOR THE MOVING PARTY
PRIOR TO THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED,
A HEARING WILL BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

     IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED,
THE RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE
COURT MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE
NOTICED ACTION MAY BE TAKEN.

TO THE HONORABLE RUSSELL F. NELMS, UNITED STATES BANKRUPTCY JUDGE:

         Carey Ebert (the “Trustee”), in her capacity as the chapter 11 trustee for Latitude

Solutions, Inc. (the “Debtor”), files this Motion to Approve Amendment to Contingent Fee




MOTION TO APPROVE AMENDMENT TO CONTINGENT
FEE AGREEMENT WITH SPECIAL LITIGATION COUNSEL                                         PAGE 1
Case 12-46295-rfn11 Doc 274 Filed 06/16/15           Entered 06/16/15 11:16:55        Page 2 of 6



Agreement with Special Litigation Counsel, and in support thereof would respectfully show as

follows:

                                 I. STATEMENT OF FACTS

       1.      On November 9, 2012, the Debtor filed a voluntary petition in this Court for relief

under chapter 7 of the United States Bankruptcy Code. The Trustee was appointed the chapter 7

trustee. On April 5, 2013, this Court entered an order converting the case to chapter 11. The

Trustee was appointed the chapter 11 trustee, and she continues to serve in that capacity.

       2.      The Debtor was a publicly traded corporation. Prior to the bankruptcy filing, the

Debtor designed, developed, purchased, and marketed industrial water purification units for the

purpose of water remediation. The Debtor’s bankruptcy estate includes approximately sixteen of

those units.

       3.      In the months leading up to the bankruptcy filing, the Debtor paid out millions of

dollars to insiders and other persons and entities associated with insiders, moved its corporate

office from Florida to Texas, and ceased all marketing efforts for its water purification units.

The Trustee believes that the bankruptcy estate holds valid and valuable causes of action against

several insiders and other persons and entities for avoidance actions under Chapter 5 of the

Bankruptcy Code, fraudulent transfer actions under state law, and other state and federal causes

of action related to the control, management, and operation of the Debtor (collectively, the

“Causes of Action”).

       4.      On October 4, 2014, this Court entered an Order Approving Employment of

Special Litigation Counsel for Chapter 11 Trustee (Dkt. No. 225) approving the Trustee’s

employment of the following combination of law firms (collectively, the “Firms”) to represent

her to investigate and pursue the Causes of Action on a contingent fee basis:



MOTION TO APPROVE AMENDMENT TO CONTINGENT
FEE AGREEMENT WITH SPECIAL LITIGATION COUNSEL                                                PAGE 2
Case 12-46295-rfn11 Doc 274 Filed 06/16/15          Entered 06/16/15 11:16:55      Page 3 of 6



                (a)    Walters, Papillion, Thomas, Cullens, LLC, 12345 Perkins Road, Building

        One, Baton Rouge, LA 70810;

                (b)    Broyles Law Firm, LLC, 12345 Perkins Road, Building Two, Baton

        Rouge, LA 70810;

                (c)    Anderson Firm, LLC, 11851 Wentling Ave., Baton Rouge, LA 70816;

        and

                (d)    Haynes and Boone, LLP, 2323 Victory Avenue, Suite 700, Dallas, TX

        75219, has served as local counsel for an unofficial committee of shareholders and may

        also serve as local counsel for Walters, Papillion, Thomas, Cullens, LLC, the Broyles

        Law Firm, LLC, and the Anderson Firm, LLC in connection with the Causes of Action.

        5.      The engagement letter evidencing the contingent fee agreement (the

“Agreement”) between the Trustee and the Firms was attached as Exhibit “A” to the Application

to Employ Special Litigation Counsel for Chapter 11 Trustee (Dkt. No. 220). A true and correct

copy of the Agreement is attached hereto as Exhibit “A” for the convenience of the Court and

parties in interest.

        6.      After the Firms started their work for the Trustee, it became apparent that the

Firms and the Trustee had underestimated the fees and expenses of an accounting expert needed

to assist the Firms in investigating and pursuing the Causes of Action. Under the existing

Agreement, the Firms are responsible for advancing those costs and then are entitled to

reimbursement out of the proceeds of recoveries on the Causes of Action.

        7.      After discovering that the fees and expenses of an accounting expert were going

to be higher than originally expected, the Trustee and the Firms agreed (subject to this Court’s

approval) to modify the Agreement to address that issue. Specifically, the Trustee and the Firms



MOTION TO APPROVE AMENDMENT TO CONTINGENT
FEE AGREEMENT WITH SPECIAL LITIGATION COUNSEL                                            PAGE 3
Case 12-46295-rfn11 Doc 274 Filed 06/16/15             Entered 06/16/15 11:16:55      Page 4 of 6



propose to amend the Agreement to provide that the Trustee and the Firms will share all fees and

expenses of an accounting expert fifty-fifty. To the extent funds are available in the Debtor’s

bankruptcy estate (whether from proceeds of the Causes of Action or other sources) and to the

extent the fees and expenses of the accounting expert have not been reimbursed out of proceeds

from Causes of Action, the Trustee will reimburse fifty percent of those costs to the Firms on a

quarterly basis. The Firms will still advance all of those costs at the outset. The only change is

that the Trustee can use funds from sources other than proceeds from the Causes of Action to

reimburse the Firms for up to fifty percent of those costs.

       8.      As long as the gross amount of recoveries from the Causes of Action is high

enough to cover all of the Firms’ reimbursable expenses under the existing Agreement, the

Amendment will not have any effect on the net amount the Debtor’s bankruptcy estate will

receive from the Causes of Action. The Trustee and the Firms obviously expect to recover

amounts from the Causes of Action far in excess of the Firms’ reimbursable expenses. In the

unlikely event the gross amount of recoveries from the Causes of Action is not enough to cover

all of the Firms’ reimbursable expenses under the existing Agreement, then the Trustee will

cover up to half of the amounts the Firms advance for fees and expenses of the accounting expert

to the extent funds from other sources are available in the Debtor’s bankruptcy estate.

       9.      The specific terms of the proposed amendment are set forth in an Amendment to

Contingent Fee Agreement (the “Amendment”), a true and correct copy of which is attached

hereto as Exhibit “B.” For a complete understanding of the proposed amendment, interested

parties should refer to the Amendment itself. The terms of the Amendment will control over any

contrary or conflicting terms stated in this Motion.




MOTION TO APPROVE AMENDMENT TO CONTINGENT
FEE AGREEMENT WITH SPECIAL LITIGATION COUNSEL                                              PAGE 4
Case 12-46295-rfn11 Doc 274 Filed 06/16/15           Entered 06/16/15 11:16:55    Page 5 of 6



                            II. ARGUMENT AND AUTHORITIES

       10.     The Trustee, with the Court’s approval, may employ attorneys. 11 U.S.C. §

327(a). The Trustee requires the representation of special litigation counsel in order to

investigate and pursue the Causes of Action to obtain the maximum benefit for the bankruptcy

estate. The proposed Amendment will allow the Trustee to use funds from sources other than

proceeds from Causes of Action to equitably share the fees and expenses of an accounting expert

to assist the Firms in investigating and pursuing the Causes of Action for the benefit of the

Debtor’s bankruptcy estate. The Amendment is reasonable and in the best interest of the

Debtor’s bankruptcy estate. The Trustee requests pre-approval of the Amendment under section

328(a) of the Bankruptcy Code.

                                       III. CONCLUSION

       WHEREFORE, PREMISES CONSIDERED, the Trustee requests that this Court enter an

order approving the Amendment and granting the Trustee such other and further relief, at law or

in equity, to which she may be justly entitled.

                                              Respectfully submitted,

                                              QUILLING, SELANDER, LOWNDS,
                                                WINSLETT & MOSER, P.C.
                                              2001 Bryan Street, Suite 1800
                                              Dallas, Texas 75201
                                              (214) 871-2100 (Telephone)
                                              (214) 871-2111 (Facsimile)

                                              By: /s/ Kenneth A. Hill
                                                     Kenneth A. Hill
                                                     State Bar No. 09646950
                                              ATTORNEYS FOR THE TRUSTEE




MOTION TO APPROVE AMENDMENT TO CONTINGENT
FEE AGREEMENT WITH SPECIAL LITIGATION COUNSEL                                           PAGE 5
Case 12-46295-rfn11 Doc 274 Filed 06/16/15           Entered 06/16/15 11:16:55         Page 6 of 6



                                CERTIFICATE OF SERVICE

        I hereby certify that, in accordance with this Court’s Order Establishing Procedures to
Limit Notice, a true and correct copy of the foregoing document was served concurrently with
the filing of the same by ECF upon all persons who have filed ECF appearances in this case,
including (a) counsel or record for the Debtor, (b) the Trustee, (c) the Office of the United States
Trustee, and (d) all persons and entities requesting notice under Fed. R. Civ. P. 2002(m). I
further certify that a true and correct copy of the foregoing document was served concurrently
with filing by first class mail, postage prepaid, on the following:

David A. Carter, P.A.                                BILL SCHUETTE, Attorney General
One Lincoln Place                                    Julius O. Curling, Assist. Attorney Gen.
1900 Glades Rd., Suite 401                           P.O. Box 30754
Boca Raton, FL 33431                                 Lansing, MI 48909

Vince Slusher, Esq.                                  Jeffrey M. Tillotson
DLA Piper LLP (US)                                   Elizabeth Y. McElroy
1717 Main Street, Suite 4600                         Lynn Tillotson Pinker & Cox, LLP
Dallas, TX 75201-4629                                2100 Ross Avenue, Suite 2700
                                                     Dallas, Texas 75201
Rachel Nanes
DLA Piper LLP (US)
200 S. Biscayne Blvd., Suite 2500
Miami, Florida 33131



                                              /s/ Kenneth A. Hill
                                              Kenneth A. Hill
4817-0158-5444, v. 1




MOTION TO APPROVE AMENDMENT TO CONTINGENT
FEE AGREEMENT WITH SPECIAL LITIGATION COUNSEL                                                PAGE 6
